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AO 468 (Rev. 04/15) Waiver of a Preliminary Hearing

 

UNITED STATES DISTRICT COURT

 

for the
District of New Jersey
United States of America }
Richard Tobin 5 Case No. 19-mj-5644 (KMW)
Defendant 5

WAIVER OF A PRELIMINARY HEARING

I understand that I have been charged with an offense in a criminal complaint filed in this court, or charged with
violating the terms of probation or supervised release in a petition filed in this court. A magistrate judge has informed
me of my right to a preliminary hearing under Fed. R. Crim. P. 5.1, or to a preliminary hearing under Fed. R. Crim. P.
32.1,

I agrees to waive my right to a preliminary hearing under Fed, R. Crim, P. 5.1 or Fed. R. Crim. P. 32.1.

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